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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 DOORDASH, INC. and GRUBHUB INC,                        CASE No. 3:21-cv-05502 EMC


                                Plaintiff(s)
 v.                                                     ADR CERTIFICATION BY
                                                        PARTIES AND COUNSEL
CITY AND COUNTY OF SAN FRANCISCO
                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date: 5/4/2022                                        /s/Jeremy M. Goldman, for Defendant CITY AND COUNTY
                                                                                          OF SAN FRANCISCO
                                                                          Party
 Date: 5/4/2022                                         /s/Jeremy M. Goldman
                                                                         Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
       intend to stipulate to an ADR process
       prefer to discuss ADR selection with the Assigned Judge at the case management
      ■



        conference


       Date: 5/4/2022                                             /s/Jeremy M. Goldman
                                                                             Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
